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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     *
                                             *
                                             *       Case No: 1:21-cr-00526-TSC-1
v.                                    *
                                             *
                                             *
JEFFERY FINLEY,                              *
     Defendant.                              *
                                           ooOoo

      UNOPPOSED MOTION FOR A FOUR WEEK EXTENSION OF TIME
             TO REPORT TO THE FEDERAL INSTITUTION

          Mr.   Finley is presently under subpoena to testify at an ungoing trial in this

district, United States v. Nordean, No. 21-cr-175 (TJK). Mr. Finley’s testimony is

scheduled for this week or early next week. However, Mr. Finley has been ordered

to report to the Bureau of Prison on March 22, 2023, to begin service of the

sentence imposed by this Honorable Court on February 13, 2023.               Undersigned

counsel has been informed by the United States that if Mr. Finley reports to begin

service of his sentence it will be highly unlikely (or nearly impossible) that the United

States would be able to have him transported to this district to testify with such short

notice.

          1.     Undersigned counsel, who represents Zachary Rehl, a defendant in

the Nordean case caused the subpoena to be issued and served on Mr. Finley on

December 11, 2022. Counsel only recently learned that Mr. Finley was ordered to

report to the Bureau of Prison to begin service of his sentence.

           2.     In order to preserve Mr. Rehl’s constitutional rights under the Sixth

 Amendment and the Due Process clause to compel witnesses to appear at his trial, Mr.
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Rehl respectfully requests that the Court extend the date for Mr. Finley to report to the

Bureau of Prison from March 22, 2023 for four weeks to and including April 19, 2023.

       3.      AUSA Jason McCullough, who was the lead prosecutor in the instant case

as well as the lead prosecutor in the pending trial at which Mr. Finley’s testimony

is required does not oppose this request.

       WHEREFORE, for the foregoing reasons, it is respectfully requested that

this Honorable Court grant Mr. Finley a 4-week extension of his March 22, 2023

reporting date to and including April 19, 2023.



                                                   Respectfully submitted,



March 21, 2023                                     /s/ Carmen D. Hernandez
                                                   Carmen D. Hernandez
                                                   Bar No. MD 03366
                                                   7166 Mink Hollow Rd
                                                   Highland, MD 20777
                                                   240-472-3391; 301-854-0076 fax)



                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the instant Motion was served on all counsel of
record via ECF this 21st day of March, 2023.


                                                   /s/ Carmen D. Hernandez
                                                   Carmen D. Hernandez




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